









 
















&nbsp;

IN THE

TENTH COURT OF
APPEALS




 
  
 
 
  
  
 


&nbsp;



No. 10-04-00203-CR

&nbsp;

Ivan Jerome Roberts,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant

&nbsp;v.

&nbsp;

The State of Texas,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee

&nbsp;

&nbsp;

&nbsp;



From the 40th District Court

Ellis County, Texas

Trial Court # 28164CR

&nbsp;



MEMORANDUM&nbsp;
Opinion



&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Ivan Roberts was charged with the offense of injury to a
child.&nbsp; Tex.
Pen. Code Ann. § 22.04 (Vernon 2003).&nbsp;
The jury found him guilty and assessed ten years’ imprisonment.&nbsp; &nbsp;&nbsp;He
appeals on two issues: (1) the jury charge contained error because it did not
instruct the jury on the subjective element of the defense of parental discipline;
and (2) the evidence is factually insufficient.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
will overrule the issues and affirm the judgment.

&nbsp;

&nbsp;

BACKGROUND

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Robert’s
eleven-year-old son got in trouble at school.&nbsp;
He was punished at school by being swatted with a paddle.&nbsp; At home, his father whipped him with a
belt.&nbsp; An investigator with Child
Protective Services testified that she observed injuries to the boy’s head,
neck, back, arm, buttocks, and legs. &nbsp;Photographs
of the boy’s injuries were admitted into evidence.&nbsp; The boy testified that his father told him to
take off his clothes, had him lean over a bench press, and whipped him with a
belt that had a metal buckle.&nbsp; He
testified that his father had whipped him before but did not usually hit him on
the neck and head.&nbsp; Roberts testified in
his own defense that he disciplines his sons with a belt when he feels it is
appropriate.&nbsp; He testified that the blows
above the shoulders were an accident, but admitted that the purpose of the
whipping was to cause pain.

Jury
Charge

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Roberts
argues that the trial court’s jury charge on guilt-innocence contained error in
that the trial court should have included a subjective component in the charge
on parental discipline.&nbsp; He acknowledges that
he did not object to the charge, but contends that alleged error caused him
egregious harm.&nbsp; See Almanza v. State, 686 S.W.2d 157 (Tex. Crim. App. 1984).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Section
9.61 of the Penal Code sets out the defense applicable to the parent-child
relationship.&nbsp; That section states that the
use of force, but not deadly force, against a child younger than eighteen years
of age is justified: (1) if the actor is the child’s parent or stepparent or is
acting in loco parentis to the child; and (2) when and to the degree the actor
reasonably believes the force is necessary to discipline the child or to
safeguard or promote his welfare.&nbsp; Tex. Pen. Code Ann. § 9.61 (Vernon 2003).&nbsp; The Penal Code defines a “reasonable belief”
as a “belief that would be held by an ordinary and prudent man in the same
circumstances as the actor.”&nbsp; Tex. Pen. Code Ann. § 1.07(a)(42)
(Vernon Supp. 2004-05).

&nbsp; Roberts
argues that the jury instruction that the trial court gave regarding reasonable
belief was error because it is strictly objective and omits the subjective aspect
of the defense.&nbsp; He cites our opinion in Davis v. State for the proposition that
there is a subjective aspect to the defense.&nbsp;
104 S.W.3d 177, 181 (Tex. App.—Waco 2003, no pet.).&nbsp; In Davis, we held that “[a]lthough the jury employs an
objective standard to determine the reasonableness of the defendant’s belief, it must view the facts from the defendant’s perspective.”&nbsp; Id. at 181 (emphasis added).&nbsp; Here, the jury was instructed that
“reasonable belief” means “a belief that would be held by an ordinary and
prudent person in the same circumstances as the defendant.”&nbsp; We find no error in the jury instruction and
overrule this issue.

Factual
Sufficiency

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Roberts
contends the evidence is factually insufficient to support the verdict, because
he subjectively thought he acted within his parameters as a parent when he
whipped his son.&nbsp; Because reasonable
discipline is a justification, the State is not required to affirmatively
produce evidence which refutes the claim; rather, the State has the burden to
prove its case beyond a reasonable doubt.&nbsp;
Goulart v. State, 26 S.W.3d 5,
10 (Tex. App.—Waco 2000, pet. ref’d).&nbsp; The
jury is required to find beyond a reasonable doubt that the level of force used
by the parent was not justified.&nbsp; Id. at 11.&nbsp;
In reviewing factual sufficiency, we consider all of the evidence in a
neutral light to determine whether the jury was rationally justified in finding
guilt beyond a reasonable doubt.&nbsp; Zuniga v. State, 144 S.W.3d 477, 484 (Tex. Crim. App. 2004).

Again citing Davis,
Roberts argues that the evidence is factually insufficient to show he acted in
a manner contrary to his subjective reasonable beliefs.&nbsp; His reliance on Davis is misguided.&nbsp;
In Davis, we held that the jury must view the facts from the defendant’s perspective,
but the jury employs an objective standard to determine the reasonableness of
the defendant’s belief.&nbsp; 104 S.W.3d at 181.&nbsp; Viewing the facts from the defendant’s
perspective, the jury could have concluded that a reasonable person would not
believe that the force used against Roberts’s son was necessary to discipline
him or to safeguard or promote his welfare.&nbsp;
The evidence is factually sufficient to sustain the verdict.

CONCLUSION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Having overruled the issues, we affirm
the judgment.

&nbsp;

BILL VANCE

Justice

&nbsp;

Before Chief
Justice Gray,

Justice Vance,
and

Justice Reyna

Affirmed

Opinion
delivered and filed April 27, 2005

Do not publish

[CR25]

&nbsp;





